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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

JAMES FRITZSCHE, DAVID
ERICKSON, DON FRITZSCHE, fka DON
COX;                                        Case No. CV-07-196-N-BLW

                              Plaintiffs,
                                            ORDER OF DISMISSAL WITH
and                                         PREJUDICE

J.G. WENTWORTH S.S.C. LIMITED
PARTNERSHIP,

                    Plaintiff-Intervenor,

   v.

METROPOLITAN LIFE INSURANCE
COMPANY, a corporation doing business
in Idaho, METROPOLITAN
REINSURANCE COMPANY, a
corporation doing business in Idaho,
METROPOLITAN INSURANCE
COMPANIES, a corporation doing
business in Idaho, METLIFE GROUP,
INC., a New York corporation doing
business in Idaho, and JOHN DOES 1-10,

                             Defendants.


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       It having been Stipulated (Docket No. 25) and agreed by the parties, through their
counsel of record, and good cause appearing therefor;
       IT IS HEREBY ORDERED, AND THIS DOES ORDER, that the Complaint filed in
the above-entitled action be, and the same is hereby dismissed with prejudice, with each party to
bear their own costs and attorney fees.
                                             DATED: April 8, 2008



                                             B. LYNN WINMILL
                                             Chief Judge
                                             United States District Court




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